      Case 2:19-cv-13691-LMA-DMD Document 41 Filed 06/18/20 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF LOUISIANA

JHON ALCIDE, et al.,                               )      CIVIL ACTION NO.: 19-cv-13691-
                                                   )            LMA-DMD
       Plaintiffs,                                 )
                                                   )      SECTION "I" (3)
v.                                                 )
                                                   )      JUDGE: LANCE M. AFRICK
NIPPON YUSEN KABUSHIKI KAISHA                      )
      Defendant.                                   )
                                                   )      MAGISTRATE: DANA DOUGLAS
                                                   )

                                   NOTICE OF APPEAL

       Pursuant of Federal Rules of Appellate Procedure 3(a)(1) and 4(a)(1)(A), notice is hereby

given that Plaintiffs appeal against defendant Nippon Yusen Kabushiki Kaisha (“NYK”), to the

United States Court of Appeals for the Fifth Circuit from the June 4, 2020 Order & Reasons and

subsequent judgment (Rec. Docs. 39, 40) dismissing Plaintiffs’ claims against NYK for lack of

personal jurisdiction.

       Payment of the required fee of $505.00 will be provided through the Court’s Case

Management / Electronic Case Files System.

                                                   Respectfully submitted,

                                                   By: /s/ Craig Isenberg
                                                   Craig Isenberg, T.A., 29603
                                                   Laurence D LeSueur, Jr., 35206
                                                   BARRASSO USDIN KUPPERMAN
                                                     FREEMAN & SARVER, L.L.C.
                                                   909 Poydras Street, Suite 2350
                                                   New Orleans, Louisiana 70112
                                                   Telephone: (504) 589-9700
                                                   Facsimile: (504) 589-9701
                                                   cisenberg@barrassousdin.com
                                                   llesueur@barrassousdin.com
                                                   AND
       Case 2:19-cv-13691-LMA-DMD Document 41 Filed 06/18/20 Page 2 of 2



                                           /s/ David Schloss
                                           David M. Schloss, 416523
                                           Kasey K. Murray, 1016186
                                           KOONZ MCKENNEY JOHNSON & DEPAOLIS
                                           LLP
                                           2001 Pennsylvania Avenue, N.W. Suite 450
                                           Washington, D.C. 20006
                                           Telephone: (202) 659-5500
                                           Facsimile: (202) 785-3719
                                           dschloss@koonz.com
                                           kmurray@koonz.com
                                           AND

                                           /s/ Thomas Schoenbaum_________________
                                           Thomas Schoenbaum, JD, PhD
                                           1301 Spring Street, Apt. 30i
                                           Seattle, WA 98104
                                           Telephone: (206) 364-3891
                                           tjschoen@uw.edu

                                           Counsel for Plaintiffs
{1745751_1}




                                     -2-
